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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA
                  Plaintiff,
                      V.                              Criminal No. I9-CR-10081-IT


 GORDON ERNST,
                  Defendant.

           ORDER VACATING POST-INDICTMENT RESTRAINING ORDER


TALWANI, D.J.

       The United States ofAmerica, having petitioned this Court for an Order to Vacate the Post-

Indictment Restraining Order issued on March 27,2019, which restrained the following:

       a. exclusive Country Club Membership at the Chevy Chase Club in the names of
          Gordon and Lisa Ernst, located in Chevy Chase, Maryland (the "Membership")

and that this Court, being fully advised of the circumstances of this case, it is hereby:

       ORDERED that the Post-Indictment Restraining Order shall be vacated as to the above

Membership, thereby releasing the United States' interests in and to the Membership.

       DONE AND ORDERED in Boston, Massachusetts, this,5 day of                             , 2019.



                                                      INDIRA TALWANI
                                                      United States District Judge
